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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE
 COLLEEN WITMER, Individually and On       )
 Behalf of All Others Similarly Situated,  )
                                           )
                       Plaintiff,          ) Case No. 1:19-cv-00135-LPS
                                           )
        v.                                 ) JURY TRIAL DEMANDED
                                           )
 LOXO ONCOLOGY, INC., JOSHUA H.            ) CLASS ACTION
 BILENKER, STEVE ELMS, KEITH T.            )
 FLAHERTY, AVI Z. NAIDER, LORI A.          )
 KUNKEL, ALAN FUHRMAN, TIM                 )
 MAAYLEBEN, STEVE D. HARR, ELI             )
 LILLY AND COMPANY, and BOWFIN             )
 ACQUISITION CORPORATION,                  )
                                           )
                       Defendants.         )

                 PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

       PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), plaintiff Colleen

Witmer (“Plaintiff”) hereby voluntarily dismisses the above-captioned action (the “Action”) with

prejudice as to the Plaintiff only. Defendants have filed neither an answer nor a motion for

summary judgment in the Action, and no class has been certified.

 Dated: February 12, 2019                           RIGRODSKY & LONG, P.A.

                                               By: /s/ Brian D. Long
                                                   Seth D. Rigrodsky (#3147)
                                                   Brian D. Long (#4347)
                                                   Gina M. Serra (#5387)
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